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                                                     Telephone: (415) 433-6830
11 Attorneys for Plaintiffs
12
13                                    UNITED STATES DISTRICT COURT
14                                    EASTERN DISTRICT OF CALIFORNIA
15
16 RALPH COLEMAN, et al.,                            Case No. 2:90-CV-00520-KJM-DB
17                      Plaintiffs,                  STIPULATION AND ORDER
                                                     EXTENDING TIME TO RESPOND TO
18                 v.                                DEFENDANTS’ REVISED 2022
                                                     ANNUAL SUICIDE REPORT (ECF
19 GAVIN NEWSOM, et al.,                             NO. 8264)
20                      Defendants.                  Judge: Hon. Kimberly J. Mueller
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     [4512825.1]

             STIPULATION AND ORDER EXTENDING TIME TO RESPOND TO DEFENDANTS’ REVISED 2022
                                 ANNUAL SUICIDE REPORT (ECF NO. 8264)
     Case 2:90-cv-00520-KJM-DB Document 8276 Filed 06/14/24 Page 2 of 4


 1                 On June 7, 2024, Defendants filed their Notice of Submission of the California
 2 Department of Corrections and Rehabilitation Revised 2022 Annual Suicide Report (ECF
 3 No. 8264) (“Defendants’ Revised 2022 Annual Suicide Report”). The current deadline for
 4 Plaintiffs to file objections to Defendants’ Revised 2022 Suicide Report is June 17, 2024.
 5 Order (Aug. 3, 2022), ECF No. 7598; Special Master’s Report & Recommendation Re: the
 6 CDCR’s Proposal for Assuming the Annual Suicide Monitoring Report (June 28, 2024),
 7 ECF No. 7574 at 15.
 8                 The undersigned Plaintiffs’ counsel is primarily responsible for preparing Plaintiffs’
 9 objections to Defendants’ Revised 2022 Annual Suicide Report. However, given the
10 undersigned Plaintiffs’ counsel’s preexisting litigation schedule, Plaintiffs will be unable
11 to adequately prepare objections to Defendants’ Revised 2022 Annual Suicide Report by
12 June 17. Other members of Plaintiffs’ counsel’s team are also not available to prepare
13 objections by June 17.
14                 On June 10, 2024, the parties agreed to stipulate to a ten-day extension of the
15 deadline for Plaintiffs to file their objections to Defendants’ Revised 2022 Annual Suicide
16 Report. Therefore, the parties respectfully request to extend the deadline for Plaintiffs to
17 file objections to Defendants’ Revised 2022 Annual Suicide Report by ten days to June 27,
18 2024.
19
20 DATED: June 11, 2024                            Respectfully submitted,
21                                                 ROSEN BIEN GALVAN & GRUNFELD LLP
22
23                                                 By: /s/ Michael S. Nunez
24                                                     Michael S. Nunez

25                                                 Attorneys for Plaintiffs
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     [4512825.1]
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             STIPULATION AND ORDER EXTENDING TIME TO RESPOND TO DEFENDANTS’ REVISED 2022
                                 ANNUAL SUICIDE REPORT (ECF NO. 8264)
     Case 2:90-cv-00520-KJM-DB Document 8276 Filed 06/14/24 Page 3 of 4


 1 DATED: June 11, 2024                   ROB A. BONTA
                                          ATTORNEY GENERAL OF CALIFORNIA
 2                                        DAMON MCCLAIN
                                          SUPERVISING DEPUTY ATTORNEY GENERAL
 3
                                         /s/ Elise Owens Thorn
 4                                        ELISE OWENS THORN
                                          DEPUTY ATTORNEY GENERAL
 5                                       Attorneys for Defendants

 6
                                         HANSON BRIDGETT LLP
 7                                       /s/ Samantha D. Wolff
                                         PAUL MELLO
 8                                       SAMANTHA D. WOLFF
 9                                       Attorneys for Defendants

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             STIPULATION AND ORDER EXTENDING TIME TO RESPOND TO DEFENDANTS’ REVISED 2022
                                 ANNUAL SUICIDE REPORT (ECF NO. 8264)
     Case 2:90-cv-00520-KJM-DB Document 8276 Filed 06/14/24 Page 4 of 4


 1                                                    ORDER
 2                 Plaintiffs are granted an extension to June 27, 2024 to file their objections to
 3 Defendants’ Revised 2022 Annual Suicide Report (ECF No. 8264).
 4                 IT IS SO ORDERED.
 5 DATED: June 14, 2024.
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             STIPULATION AND ORDER EXTENDING TIME TO RESPOND TO DEFENDANTS’ REVISED 2022
                                 ANNUAL SUICIDE REPORT (ECF NO. 8264)
